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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             October 25, 2019
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                 HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                  §
on behalf of themselves and all others          §
similarly situated,                             §
                                                §
                      Plaintiffs,               §
                                                §
VS.                                             §           CIVIL ACTION NO. H-16-1414
                                                §
HARRIS COUNTY, TEXAS, et al.,                   §
                                                §
                      Defendants.               §

  ORDER GRANTING MOTION TO STRIKE GILBERT MORALES’S OBJECTION
    AND DENYING MR. MORALES PERMISSION TO SPEAK AT THE FINAL
                       FAIRNESS HEARING

       On October 18, 2019, one week after the court’s October 11 deadline for nonduplicative

written objections to the proposed settlement and consent decree, a self-described class member,

Gilbert Morales, filed an objection. (Docket Entry No. 651 at 52; Docket Entry No. 669). The

plaintiffs moved to strike Mr. Morales’s written objection on October 23. (Docket Entry No. 694).

The plaintiffs also asked to depose Mr. Morales before the final fairness hearing or to subpoena

and cross-examine him at the hearing. (Id. at 2).

       After careful review of Mr. Morales’s objection, the motion, the record, and the applicable

law, the court strikes Mr. Morales’s objection because it is untimely, because it does not satisfy

Federal Rule of Civil Procedure 23(e)(5)(A), and because it duplicates other written objections.

FED. R. CIV. P. 23(e)(5)(A). The plaintiffs’ request to depose or cross-examine Mr. Morales is

denied as moot.

       Neither Mr. Morales nor his attorney may speak at the final fairness hearing. Mr. Morales

cannot speak as a class objector because his objection does not comply with Rule 23(e)(5)(A).
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FED. R. CIV. P. 23(e)(5)(A). He may not speak as a nonparty objector because he simply repeats

arguments that other speakers made in previous objections.

I.      The Legal Standard for Granting a Motion to Strike an Untimely Objection to a
        Proposed Class Settlement

        The court has broad discretion to consider or reject late objections. Farber v. Crestwood

Midstream Partners L.P., 863 F.3d 410, 417 (5th Cir. 2017) (the Fifth Circuit lacked jurisdiction

over an appeal when “a nonparty, non-intervenor, waived his right to appeal by filing an untimely,

procedurally deficient objection” to a class settlement); id. at n.12 (collecting cases holding that

unnamed class members waive their right to appeal a class settlement by failing to file a timely

objection).

II.     Discussion

        Mr. Morales does not acknowledge, or explain, his objection’s untimeliness. (Docket

Entry No. 669).      In addition to being late, Mr. Morales’s objection does not satisfy Rule

23(e)(5)(A) because it does not “state whether it applies only to [Mr. Morales], a specific subset

of the class, or to the entire class.” FED. R. CIV. P. 23(e)(5)(A). Mr. Morales claims that the court

lacks the power to approve the proposed consent decree and argues that it violates Texas law; is

unfair to crime victims; bypasses the political process; would “make it more difficult for courts to

resolve cases”;1 and would “exclude” bail bondsmen from posting bonds for 85% of misdemeanor

arrestees. (Docket Entry No. 669 at 6–7, 16). Almost as an afterthought, he states that the

proposed consent decree “is not fair to class members.” (Id. at 7). Rule 23(e)(5)(A) requires more

than this bare assertion. FED. R. CIV. P. 23(e)(5)(A). Mr. Morales does not satisfy the rule by



        1
          Mr. Morales does not explain this assertion, though he, like the Professional Bondsmen of Harris
County, goes on to challenge the proposed consent decree’s provisions on failures to appear and
rescheduling court hearings. (Compare Docket Entry No. 631-2 at 13, 15, with Docket Entry No. 669 at
17, 19).
                                                        2
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suggesting, in effect, that the proposed settlement provides “too much relief for the class.” (Docket

Entry No. 694 at 7). The court strikes the objection and precludes Mr. Morales from speaking at

the final fairness hearing (personally or through his attorney) as an objecting class member.

        In addition, Mr. Morales may not speak as a nonparty objector because he repeats previous

objectors’ arguments—often verbatim. (Compare Docket Entry No. 631-2 at 13–14, with Docket

Entry No. 669 at 17; compare Docket Entry No. 631-2 at 14, with Docket Entry No. 669 at 16).

The Professional Bondsmen of Harris County’s amicus brief made essentially all of Mr. Morales’s

arguments except the contentions that the parties no longer oppose each other and that the proposed

consent decree is unfair to crime victims, claims that Commissioner Steve Radack made in his

amicus brief. (Docket Entry No. 634-1 at 4, 10; Docket Entry No. 669 at 7, 10; compare Docket

Entry No. 631-2, with Docket Entry No. 669). Both the Professional Bondsmen and Commissioner

Radack will speak at the final fairness hearing. (Docket Entry No. 692 at 2). Mr. Morales has not

identified any distinct perspective or argument. Others will adequately represent his concerns at

the hearing.

III.    Conclusion

        The court grants the plaintiffs’ motion to strike and denies as moot their request to depose

or cross-examine Mr. Morales. (Docket Entry No. 694). Mr. Morales’s written objection is

stricken, and neither Mr. Morales nor his lawyer may speak at the final fairness hearing.

               SIGNED on October 25, 2019.



                                              _______________________________________
                                                           Lee H. Rosenthal
                                                    Chief United States District Judge




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